Case 8:22-cv-01977-MSS-SPF Document 20 Filed 12/14/22 Page 1 of 25 PageID 166




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

BLAKE WARNER,

         Plaintiff,

v.                                           Case No. 8:22-cv-01977-MSS-SPF

HILLSBOROUGH COUNTY                          Dispositive Motion
CLERK OF COURTS,

         Defendant.

____________________________________/

                DEFENDANT’S MOTION FOR JUDGMENT ON
                          THE PLEADINGS

         Defendant Hillsborough County Clerk of Court (the “Clerk”) moves for

judgment on the pleadings. Plaintiff Blake Warner (“Mr. Warner”) claims the

Clerk breached alleged duties associated with rent money he deposited into

its registry in underlying litigation and brings claims related to a demand

letter he served upon the Clerk for that same money. There is no factual

dispute the Clerk deposited the unclaimed funds in accordance with Florida

Statute § 116.21.

         Mr. Warner’s specific claims are:

         1. A purported violation of Mr. Warner’s due process rights
            through inadequate notice before treating his deposit as
            unclaimed, Doc. 1 ¶¶ 43–45;

         2. A purported violation of the takings clause because of the
            forfeited deposit, id. at ¶¶ 46–49;

                                         1
67702620;3
Case 8:22-cv-01977-MSS-SPF Document 20 Filed 12/14/22 Page 2 of 25 PageID 167




         3. An alleged breach of a fiduciary duty, id. at ¶¶ 50–52;

         4. Defamation, id. at ¶¶ 53–61; and

         5. Retaliation, id. at ¶¶ 52–66.

         Mr. Warner’s claims all fail as a matter of law because Mr. Warner

cannot establish the necessary elements. The Clerk’s affirmative defenses,

which are established by the undisputed parts of the parties’ pleadings, also

demonstrate the Clerk is entitled to judgment as a matter of law.

I.       BACKGROUND FACTS

         This litigation stems from an eviction action filed against Mr. Warner

by his then-landlord in 2018 in the county court of Hillsborough County,

Boutique Apartments LLC v. Warner, Case No. 18-CC-022377. Doc. 1 ¶ 6;

Doc. 11 ¶ 6. Mr. Warner deposited his outstanding rent payments into the

court registry pending resolution of the case, per Florida Statute § 83.60(2).

Doc. 1 ¶ 7; Doc. 11 ¶ 7. On April 27, 2018, near the start the case, Mr. Warner

filed his answer, defenses, counterclaims, and third-party complaint. See

generally Exhibit A.1 The responsive filing by Mr. Warner verified his address

as 3012 W. De Leon St. #23, Tampa, Florida 33609. Id.




     To minimize volume, only the relevant excerpts (cover page, table of contents, and
     1

pages at the end of the document showing Mr. Warner’s address at the time) are attached
as Exhibit A. See also U.S. v. Jones, 29 F.3d 1549, 1553 (11th Cir. 1994) (holding courts
may judicially notice filings in other dockets to establish the fact of the litigation and
related filings); Hernandez v. Aurobindo Pharma USA, Inc., 582 F. Supp. 3d 1192, 1200
(M.D. Fla. 2022) (explaining courts may take judicial notice when determining motions for

                                            2
67702620;3
Case 8:22-cv-01977-MSS-SPF Document 20 Filed 12/14/22 Page 3 of 25 PageID 168




         Because litigants are in the best position to know their own contact

information, and in the interests of ensuring proper service on all parties, the

Florida Rules of Judicial Administration (both currently and as they existed

in 2018) require pro se litigants to include their service address on filings.

FLA. R. JUD. ADMIN. 2.515(b); Exhibit B. Similarly, the Thirteenth Judicial

Circuit, encompassing Hillsborough County, has had administrative orders in

place for more than a decade requiring parties to update their address

information when they move during the course of a lawsuit. Exhibit C;

Exhibit D.2 On June 22, 2018, Mr. Warner demonstrated his understanding

of the change-of-address rules by formally updating his address via a “Notice

of Address Change.” Exhibit E. His updated address was 502 S. Fremont Ave.

#1322, Tampa, Florida 33606 (the “Fremont Address”). Id. Mr. Warner did

not file any further notice of address change forms.

         After ten months of no record activity, the court issued a notice of

intent to dismiss for lack of prosecution pursuant to Florida Rule of Civil

Procedure 1.420(e) on March 30, 2020. Exhibit F (showing service to Mr.

Warner at the Fremont Address). No record activity occurred in the sixty

days following the notice, so on June 12, 2020, the court dismissed the case.



judgment on the pleadings).           The    public   docket    is   available   online   at
https://hover.hillsclerk.com/.
    2  The 2019 version of the order replaced the 2007 version, but the 2007 version is still
publicly available at https://www.fljud13.org/Portals/0/AO/DOCS/2007-036.pdf.

                                             3
67702620;3
Case 8:22-cv-01977-MSS-SPF Document 20 Filed 12/14/22 Page 4 of 25 PageID 169




Exhibit G. Eight months passed, and on February 16, 2021, the Clerk mailed

notices to each of the litigants informing them that the money Mr. Warner

had deposited in the registry had not yet been claimed. Exhibit H (showing

service to Mr. Warner at the Fremont Address). The notices provided a form

the litigants could use to claim the funds and warned them the money would

be forfeited if they did not make a claim by April 19, 2021. Id.

         The Clerk also published a notice of the unclaimed funds on July 9,

2021, in La Gaceta, a local newspaper that is available to readers in English,

Spanish, and Italian to reach a broad potential audience. Exhibit I, at 1

(highlights added); LA GACETA, https://lagacetanewspaper.com/ (last visited

December 5, 2022).3 People can subscribe to La Gaceta online, and a one-year

subscription for Hillsborough County residents is only $35. Subscribe to La

Gaceta Today!, LA GACETA, https://lagacetanewspaper.com/subscribe/ (last

visited December 5, 2022). Non-subscribers can also purchase La Gaceta at

multiple locations across the Tampa Bay region. See Doc. 1 ¶ 23.4 The notice

of the unclaimed funds was under the case caption, Boutique Apartments

LLC v. Blake Warner, which included Mr. Warner’s name. Exhibit I, at 1.



    3    Mr. Warner admits La Gaceta published the notice on July 9, Doc. 1 ¶ 12, but the
exhibit to his complaint is the August 26 edition, thus explaining why the funds at issue in
this litigation do not appear in that exhibit. See Doc. 1-3.
    4 Contrary to Mr. Warner’s suggestions, La Gaceta is available at more than a mere
two gas stations in Tampa. But for purposes of this motion, it is sufficient to note that La
Gaceta is not difficult to obtain—a $35 annual subscription available for purchase online.

                                             4
67702620;3
Case 8:22-cv-01977-MSS-SPF Document 20 Filed 12/14/22 Page 5 of 25 PageID 170




         Neither Mr. Warner nor the other two litigants placed a claim to the

funds following the notices. See generally Doc. 1 ¶¶ 37–39.5 Accordingly, the

unclaimed funds were escheated on September 1, 2021. Doc. 1 ¶ 13.6

         Almost one-year later, on July 29, 2022, Mr. Warner sent an e-mail to

the Clerk accusing it of “embezzling” the funds and “theft,” and threatening

to file a lawsuit if payment was not made. Doc. 1 ¶ 53; Doc. 11 ex. 1. The

Clerk’s responded through legal counsel, denying Mr. Warner’s allegations

and outlining legal deficiencies in his claims. Doc. 1 ¶ 54 n.3; Doc. 1-2. The

response did not outright accuse Mr. Warner of extortion; it was a relatively

tame reminder that phrasing is important, and Mr. Warner outright accused

the Clerk of being a criminal over a civil dispute. Doc. 1 ¶ 53; Doc. 11 ex. 1;

Doc. 1-2 (providing Mr. Warner with the benefit of the doubt by stating: “We

trust it was not your intent to commit extortion.”). The response did not

suggest the Clerk itself would pursue a claim against Mr. Warner based on

potential extortion or otherwise refer him for prosecution. Doc. 1-2.




    5  Without admitting the unsupported allegations in these paragraphs of the
Complaint, the Clerk cites Mr. Warner’s implicit admission throughout them that Mr.
Warner never filed a claim to the funds before this lawsuit. See Shuler v. Ingram & Assocs.,
441 F. App’x 712, 718–19 (11th Cir. 2011) (internal citations omitted) (noting statements in
complaints and other pleadings are binding judicial admissions with “the highest possible
probative value”).
    6 The Clerk disagrees with Mr. Warner’s assertion that the funds were escheated
“without serving notice.” Nevertheless, Mr. Warner alleges the funds were disposed on
September 1, 2021, which is accurate and a binding judicial admission.

                                             5
67702620;3
Case 8:22-cv-01977-MSS-SPF Document 20 Filed 12/14/22 Page 6 of 25 PageID 171




II.      STANDARD FOR DETERMINATION

         “Federal Rule of Civil Procedure 12(c) . . . provides ‘a means of

disposing of cases when . . . a judgment on the merits can be achieved by

focusing on the content of the competing pleadings’” Perez v. Wells Fargo

N.A., 774 F.3d 1329, 1336 (11th Cir. 2014) (quoting Charles Alan Wright &

Arthur R. Miller, FEDERAL PRACTICE & PROCEDURE § 1367 (3d ed. 2004)).

“Judgment on the pleadings is appropriate where there are no material facts

in dispute and the moving party is entitled to judgment as a matter of law,”

accepting as true all material facts alleged in the non-moving party’s

pleading. Id. at 1335 (quoting Cannon v. City of W. Palm Beach, 250 F.3d

1299, 1301 (11th Cir. 2001)). Threadbare legal conclusions in a complaint

“are not entitled to the assumption of truth,” but instead the complaint must

include factual allegations that are plausible on their face. Samara v. Taylor,

38 F.4th 141, 152 (11th Cir. 2022) (quoting Ashcroft v. Iqbal, 556 U.S. 662,

679 (2009)).

         In deciding a motion for judgment on the pleadings, a court can take

judicial notice of public records. Fed. R. Evid. 201(d); Jones, 29 F.3d at 1553;

Hernandez, 582 F. Supp. 3d at 1200.

III.     MEMORANDUM OF LAW

         Mr. Warner brings two sets of claims. Counts I through III relate to the

underlying forfeiture of the funds by Mr. Warner. Counts IV and V relate to


                                         6
67702620;3
Case 8:22-cv-01977-MSS-SPF Document 20 Filed 12/14/22 Page 7 of 25 PageID 172




the response the Clerk served to Mr. Warner’s demand for the funds and

accusations of supposed embezzlement and theft. As explained below, both

sets of claims fail as a matter of law.

    A.        The Clerk is Entitled to Judgment as a Matter of Law
              Dismissing Mr. Warner’s Counts I, II, and III Regarding the
              Disbursement of Funds.

         Counts I, II, and III fail as a matter of law because: (1) the Clerk

complied with Florida Statute § 116.21; (2) no taking occurred; (3) no duty

was breached; and (4) Mr. Warner failed to timely bring his claim.

         1.     The notices provided by the Clerk complied with due
                process requirements and otherwise followed the
                procedures in Florida Statute § 116.21 (Count I).

         First and foremost, Mr. Warner’s claims fail because the Clerk fully

complied with Florida Statute § 116.21. Florida Statute § 116.21 is comprised

of four parts, the first of which requires the Clerk to deposit unclaimed funds

into the fine and forfeiture fund every year:

                (1) The sheriffs and clerks of the courts of the various
                counties of the state are authorized at their
                discretion on or before September 25 of each and
                every year hereafter to pay into the fine and
                forfeiture fund of their respective counties, or the fine
                and forfeiture fund created under s. 142.01, any or all
                unclaimed moneys deposited or collected by them in
                their official capacity, which unclaimed moneys came
                into their hands prior to January 1 of the preceding
                year and for which moneys claim has not been made.
                Any unclaimed moneys collected or deposited by the
                clerk of the circuit court in the course of the clerk's
                court-related activities may be processed under this
                chapter; however, the clerk must pay for the cost of

                                           7
67702620;3
Case 8:22-cv-01977-MSS-SPF Document 20 Filed 12/14/22 Page 8 of 25 PageID 173




              publication of the list of unclaimed court-related
              funds. Any unclaimed court-related           funds
              collected or deposited by the clerk which remain
              unclaimed must be deposited into the fine and
              forfeiture fund established under s. 142.01.

Fla. Stat. § 116.21(1) (emphasis added).

         Subsection 2 of Section 116.21 requires the Clerk to publish notice in

July, specifying that monies must be claimed on or before September 1 and

that unclaimed monies will be forfeited:

              (2) The sheriffs and clerks of the various courts of the
              respective counties may, during the month of July of
              each year, hereafter make and compile a list of any or
              all unclaimed moneys which came into their hands as
              provided in subsection (1) above. Such compilation
              shall list, in addition to the name of the defendant,
              the respective amounts of such unclaimed moneys.
              Such list or compilation shall be published one
              time during the month of July in a newspaper
              of general circulation in the county served by such
              sheriff or clerk, and the notice shall specify that
              unless such moneys are claimed on or before
              September 1 after such publication that same
              shall be declared forfeited to such county. Proof
              of such publication shall be made by the publisher of
              such newspaper and shall be filed and recorded in the
              minutes of the county commissioners of such county.

Fla. Stat. § 116.21(2) (emphasis added).

         Subsection 3 of Section 116.21 bars any claim unless it is filed within

the time required:

              (3) Persons having or claiming any interest in such
              funds or any portion of them shall file their written
              claims with the sheriff or clerk of the court of the
              county having custody of such funds within the time

                                         8
67702620;3
Case 8:22-cv-01977-MSS-SPF Document 20 Filed 12/14/22 Page 9 of 25 PageID 174




              specified by the notice and shall make sufficient proof
              to the sheriff or clerk of their ownership and upon so
              doing shall be entitled to receive any part of the
              moneys so claimed. For the purposes of this section,
              any municipality that has a municipal detention
              facility and that prosecutes through its own
              municipal prosecutor shall have a claim against any
              unclaimed moneys collected due to violations of that
              municipality's ordinances within the territorial
              jurisdiction of the county and for which a claim has
              not been made by the person entitled to such funds.
              Unless claim is filed within such time as
              aforesaid, all claims in reference thereto are
              forever barred.

Fla. Stat. § 116.21(3) (emphasis added).

         Subsection 4 of Section 116.21 provides the Clerk with a complete

release and discharge from any liability in connection with the funds once

they are deposited in the fine and forfeiture fund:

              (4) Except for the cost of publishing the notice for the
              clerk's unclaimed court-related moneys, the cost of
              publishing the notices as required by subsection (2)
              shall be paid by the county commissioners, and the
              sheriff or the clerk shall receive as compensation the
              regular fee allowed by statute for the collection of
              fines, fees, and costs adjudged to the state upon the
              amounts remitted to the fine and forfeiture
              fund. Upon such payment to the fine and
              forfeiture fund, the sheriff or clerk shall be
              released and discharged from any and all
              further responsibility or liability in connection
              therewith.

Fla. Stat. § 116.21(4) (emphasis added).

         The undisputed facts establish the Clerk complied with Florida Statute

§ 116.21 and provided more notice than required. In Count I, Mr. Warner

                                         9
67702620;3
Case 8:22-cv-01977-MSS-SPF Document 20 Filed 12/14/22 Page 10 of 25 PageID 175




 alleges the Clerk did not comply with the due process requirements of the

 constitution or Florida Statute § 116.21. Doc. 1 ¶¶ 43–45. Thus, Mr. Warner’s

 claim fails as a matter of law.

          As quoted above, the notice aspect of the newspaper publication has

 three components: (1) it must run in July, (2) it must include the defendant’s

 name, (3) it must include a statement that the funds will be forfeited if no

 claim is filed by September 1 of that same year. Florida Statute § 116.21(2).

 The Clerk’s publication in La Gaceta complied with each of these

 requirements and included the necessary warning about disbursement of the

 funds. Exhibit I, at 1 (reflecting notice was published Friday, July 9, 2021,

 containing Mr. Warner’s name), 7 (reflecting funds would be declared

 forfeited if written claim not filed on or before Sept. 1, 2021 by email or mail).

          Notably, in deciding motions based on the pleadings, “courts may take

 judicial notice of documents such as . . . newspaper articles . . . for the limited

 purpose of determining which statements the documents contain (but not for

 determining the truth of those statements).” U.S. ex rel. Osheroff v. Humana,

 Inc., 776 F.3d 805, 811 n.4 (11th Cir. 2015) (citing Bryant v. Avado Brands,

 Inc., 187 F.3d 1271, 1278 n.10 (11th Cir. 1999)). Therefore, a review of the

 pleadings, Florida Statute § 116.21, and the published notice establishes the

 Clerk complied with the statute as a matter of law.




                                         10
 67702620;3
Case 8:22-cv-01977-MSS-SPF Document 20 Filed 12/14/22 Page 11 of 25 PageID 176




          Mr. Warner attempts to circumvent these facts in two ways. First, Mr.

 Warner alleges notice was not adequate because he alleges “La Gaceta does

 not meet the ‘newspaper of general circulation’ requirement of Fla. Stat.

 § 116.21.” Doc. 1 ¶¶ 27, 44.

          The term “Newspaper of general circulation” is not defined in Chapter

 116, but is found elsewhere in other Florida Statutes. For example, Florida

 Statute § 165.031(4) provides:

               (4) “Newspaper of general circulation” means a
               newspaper printed in the language most
               commonly spoken in the area within which it
               circulates, which is readily available for
               purchase by all inhabitants in its area of circulation,
               but does not include a newspaper intended primarily
               for members of a particular professional or
               occupational group, a newspaper the primary
               function of which is to carry legal notices, or a
               newspaper that is given away primarily to distribute
               advertising.

 Fla. Stat. § 165.031(4) (emphasis added);7 see also Benson v. City of Miami

 Beach, Dept. of Cmty. Affairs, 591 So. 2d 942, 943 (Fla. 3d DCA 1991)

 (providing an analysis of “general circulation” under a different statute); City

 of St. Mary’s v. St. Mary’s Native Corp., 9 P.3d 1002, 1011 (Alaska 2000)

 (holding a newspaper of general circulation is one distributed “in a

 community when it ‘contains news of general interest to the community and


     7Chapter 165 is known as the Formation of Municipalities Act, and its “purpose … is to
 provide standards, direction, and procedures for the formation of municipalities in this
 state and the provision of municipal services.” Fla. Stat. §§ 165.011, 165.021.

                                            11
 67702620;3
Case 8:22-cv-01977-MSS-SPF Document 20 Filed 12/14/22 Page 12 of 25 PageID 177




 reaches a diverse readership.’”) (quoting Moore v. State, 553 P.2d 8, 21

 (Alaska 1976)).

          La Gaceta is a well-recognized, tri-lingual weekly newspaper in Tampa.

 See Sue Carlton, For 100 years now, you simply had to read Tampa’s La

 Gaceta       newspaper,     TAMPA      BAY       TIMES     (Mar.    9,   2022),

 https://www.tampabay.com/news/business/2022/03/09/for-100-years-now-you-

 simply-had-to-read-tampas-la-gaceta-newspaper/                     [https://web.

 archive.org/web/20221209044701/https://www.tampabay.com/news/business/2

 022/03/09/for-100-years-now-you-simply-had-to-read-tampas-la-gaceta-

 newspaper/] (noting La Gaceta’s storied history and continued services of the

 Tampa         community);      La      Gaceta,      “Our      History”    page,

 https://lagacetanewspaper.com/our-history/. Although Mr. Warner attached

 the wrong edition of La Gaceta to his complaint, even that copy demonstrates

 La Gaceta covers a variety of stories designed to attract a broader readership

 (including English-speaking readers). See generally Doc. 1-3, at 9–18.

          Based on the foregoing, La Gaceta meets the requirements for a

 newspaper of general circulation and Mr. Warner’s assertion that notice was

 inadequate fails as a matter of law.

          Second, Mr. Warner argues Florida Statute § 116.21 is unconstitutional

 on its face as a due process violation. But due process is satisfied as long as

 notice is given in a way reasonably designed to actually serve a party. See,

                                        12
 67702620;3
Case 8:22-cv-01977-MSS-SPF Document 20 Filed 12/14/22 Page 13 of 25 PageID 178




 e.g., Dominguez v. U.S. Atty. Gen., 284 F.3d 1258, 1259 (11th Cir. 2002) (“Due

 process is satisfied so long as the method of notice is conducted ‘in a manner

 ‘reasonably calculated’ to ensure that notice reaches the alien.’”). Courts

 recognize it would be effectively impossible for parties and the courts to

 perform extensive background or other checks to find addresses where

 parties do not provide those addresses themselves, and newspaper

 publication can be an appropriate form of notice that complies with the Due

 Process Clause. E.g., Acevedo v. First Union Nat’l Bank, 476 F.3d 861, 866

 (11th Cir. 2007) (approving notice by publication).

          Although not required by statute, the Clerk also mailed a notice to Mr.

 Warner at the address he explicitly provided. Exhibit E; Exhibit H; see, e.g.,

 Lee v. U.S. Postmaster Gen., 174 F. Supp. 3d 1325, 1327 (M.D. Fla. 2016)

 (mailing a notice to the last known address of a party meets the

 Constitution’s due process requirements). This mailing occurred after eight

 months of docket inactivity, during which time Mr. Warner took no action to

 claim the funds. See generally Exhibits F–H. Following the mailed notice, Mr.

 Warner continued taking no actions to seek the funds despite the follow-up

 publication pursuant to Florida Statute § 116.21.

          In short, the Clerk is entitled to judgment as a matter of law by virtue

 of the discharge afforded under Florida Statute § 116.21(4) because the Clerk

 provided adequate notice to Mr. Warner by publishing notice in compliance

                                         13
 67702620;3
Case 8:22-cv-01977-MSS-SPF Document 20 Filed 12/14/22 Page 14 of 25 PageID 179




 with Florida Statute § 116.21, and independently, by mailing notice to the

 address Mr. Warner had provided to the Clerk.

          2.   Mr. Warner did not experience a “taking” (Count II).

          The Court should also enter judgment as a matter of law against Mr.

 Warner’s taking claim in Count II, because the funds were lawfully acquired.

 U.S. v. Morales, 36 F. Supp. 3d 1276, 1293–94 (M.D. Fla. 2014) (concluding a

 claim alleging a violation of the Takings Clause failed because property was

 forfeited pursuant to statute).

          In Count II, Mr. Warner attempts to fit his lawsuit into the framework

 of the Takings Clause. Doc. 1 ¶¶ 46–49. But this argument mistakes the

 underlying principles of the Takings Clause. The Fifth Amendment does not

 automatically apply every time a person forfeits his or her funds, but rather

 to cases involving eminent domain. In the analogous situation of civil

 forfeitures, the Supreme Court explained:

               Petitioner also claims that the forfeiture in this case was a
               taking of private property for public use in violation of the
               Takings Clause of the Fifth Amendment, made applicable
               to the States by the Fourteenth Amendment. But if the
               forfeiture proceeding here in question did not violate the
               Fourteenth Amendment, the property in the automobile
               was transferred by virtue of that proceeding from petitioner
               to the State. The government may not be required to
               compensate an owner for property which it has already
               lawfully     acquired      under       the    exercise     of
               governmental authority other than the power of
               eminent domain.



                                         14
 67702620;3
Case 8:22-cv-01977-MSS-SPF Document 20 Filed 12/14/22 Page 15 of 25 PageID 180




 Bennis v. Mich., 516 U.S. 442, 452 (1996) (emphasis added); accord Morales,

 36 F. Supp. 3d at 1293–94.

          This case does not involve eminent domain. Here, Mr. Warner

 deposited funds into a court registry pursuant to Florida Statute § 83.60(2),

 and then forfeited those funds by failing to claim them as required by Florida

 Statute § 116.21. In other words, Hillsborough County obtained the funds

 through “the exercise of governmental authority other than the power of

 eminent domain.” Bennis, 516 U.S. at 452.8

          Mr. Warner’s complaint does not specify whether he is referring to the

 Florida Constitution, the Federal Constitution, or both. Because Mr. Warner

 is asserting federal jurisdiction and because the relevant provisions from the

 two constitutions are given the same interpretations, this motion assumes

 Mr. Warner asserts his rights under both. The outcome is the same

 regardless. See, e.g., St. Johns River Water Mgmt. Dist. v. Koontz, 77 So. 3d

 1220, 1222 (Fla. 2011) (noting Florida and federal takings clauses are given

 the same interpretation), rev’d on other grounds Koontz v. St. Johns River

 Mgmt. Dist., 570 U.S. 595 (2013); Silvio Membreno & Fla. Ass’n of Vendors,




     8   Although this motion does not rely on this point, Mr. Warner does not even properly
 allege he is the correct party that could have claimed the underlying funds—the other two
 parties in the eviction action arguably had better claims to the funds than him. Regardless,
 it is undisputed that none of the parties attempted to claim the funds.

                                             15
 67702620;3
Case 8:22-cv-01977-MSS-SPF Document 20 Filed 12/14/22 Page 16 of 25 PageID 181




 Inc. v. City of Hialeah, 188 So. 3d 13, 20 (Fla. 3d DCA 2016) (noting Florida

 and federal due-process clauses are given the same interpretation).

          The Takings Clause does not apply here. Accordingly, this Court should

 enter judgment dismissing Count II as a matter of law.

          3.   The Clerk did not Breach any Fiduciary Duty by
               Complying with Florida Law (Count III).

          The Court should also enter judgment as a matter of law against Mr.

 Warner’s breach of fiduciary duty claim in Count III because Florida Statute

 § 116.21(4) bars this claim.

          In Count III, Mr. Warner attempts to plead a claim for “Breach of

 Fiduciary Duty: Embezzlement” alleging the funds were unilaterally seized

 without court order. Doc. 1, p.8 and ¶ 51. Generally, to state a claim for a

 breach of a fiduciary duty, Mr. Warner would need to show: (i) the Clerk owed

 him a fiduciary duty, (ii) the Clerk breached that duty, and (iii) Mr. Warner

 suffered damage resulted from the breach. E.g., Brouwer v. Wyndham

 Vacation Resorts, Inc., 336 So. 3d 372, 373 (Fla. 5th DCA 2022). For purposes

 of this motion, the Clerk does not dispute the duty element.9 The Clerk is

 entitled to judgment, as a matter of law, because the Clerk did not breach

 any duty and did not cause Mr. Warner any damage.



     9 But see Barnett Bank of West Florida v. Hooper, 498 So. 2d 923, 925 (Fla. 1986)
 (recognizing general rule that relationship between bank and depositor is merely one of
 debtor to creditor).

                                           16
 67702620;3
Case 8:22-cv-01977-MSS-SPF Document 20 Filed 12/14/22 Page 17 of 25 PageID 182




          The Clerk did not breach any duty, because the Clerk complied with

 the requirements of Florida law. Specifically, the Clerk is required to deposit

 unclaimed funds into the fine and forfeiture fund every year. Fla. Stat.

 § 116.21(1) (“Any unclaimed court-related funds collected or deposited by

 the clerk which remain unclaimed must be deposited into the fine and

 forfeiture fund”) (emphasis added). And having done so, the Clerk receives

 a full release and discharge of any and all duties related to the deposited

 funds. Fla. Stat. § 116.21(4) (“Upon such payment to the fine and forfeiture

 fund, the … clerk shall be released and discharged from any and all

 further responsibility or liability … .”) (emphasis added). The Clerk’s

 compliance with Florida law cannot constitute a breach of fiduciary duty. Cf.

 Fifth Third Bancorp v. Dudenhoeffer, 573 U.S. 409, 428 (2014) (“[C]ourts

 must bear in mind that the duty of prudence, under ERISA as under the

 common law of trusts, does not require a fiduciary to break the law.”)

 (emphasis      added)   (citing   Restatement   (Second)   of   Trusts   §   166,

 Comment a (“The trustee is not under a duty to the beneficiary to do an act

 which is criminal or tortious”)).

          Separately, the Clerk did not cause Mr. Warner damage by complying

 with Florida law. The Clerk mailed notice to Mr. Warner (and the other

 litigants) and the Clerk published the statutorily required notice. Mr.

 Warner’s alleged damages were self-inflicted, by his failure to claim the funds

                                         17
 67702620;3
Case 8:22-cv-01977-MSS-SPF Document 20 Filed 12/14/22 Page 18 of 25 PageID 183




 within the time required, which bars his claim as a matter of law. See Fla.

 Stat. § 116.21(3) (“Unless claim is filed within such time as aforesaid, all

 claims in reference thereto are forever barred.”) (emphasis added).

          Therefore, the Clerk requests judgment in its favor on this claim.

          4.    Mr. Warner’s claims are barred by their untimeliness, as
                his failure to satisfy the claims procedure was both a
                failure of a condition precedent and constituted
                abandonment (Counts I, II, and III).

          Independently, Counts I, II, and III are also barred because of Mr.

 Warner’s own untimeliness in pursuing the funds and his own failure to file a

 notice of change of address prevent his attempted recovery here. Even pro se

 litigants like Mr. Warner must follow Florida’s court rules and Florida

 Statutes. Gladstone v. Smith, 729 So. 2d 1002, 1004 (Fla. 4th DCA 1999)

 (citing Kohn v. City of Miami Beach, 611 So. 2d 538, 539–40 (Fla. 3d DCA

 1992)); see also U.S. v. Hung Thien Ly, 646 F.3d 1307, 1315 (11th Cir. 2011)

 (citing Faretta v. California, 422 U.S. 806, 834 n.46 (1975)) (“[I]gnorance is no

 hidden virtue; a pro se [litigant] must follow the rules of procedure . . . .”).

          As detailed above, the only party that failed any obligation here was

 Mr. Warner. On June 22, 2018, he demonstrated that he understood the need

 to keep the court informed of his current address by filing the notice that it

 had changed to 502 S. Fremont Avenue. Exhibit E. He then chose not to file

 any further notices of address changes, and the Clerk understandably relied



                                          18
 67702620;3
Case 8:22-cv-01977-MSS-SPF Document 20 Filed 12/14/22 Page 19 of 25 PageID 184




 on the most recent notice it had from Mr. Warner. Exhibit H. Further, the

 Clerk complied with Florida Statute § 116.21 and published the required

 notice of unclaimed funds in July 2021. Exhibit I. As a result, Mr. Warner

 can only blame his own lack of diligence for the forfeiture of the funds, and

 pursuant to Florida Statute § 116.21(4), the Clerk is “released and discharged

 from any and all further responsibility or liability” for the deposit.

 Accordingly, the Clerk requests judgment on Counts I, II, and III.

     B.        Mr. Warner’s Counts IV and V Regarding the Clerk’s
               Response to his Demand Letter Fail as a Matter of Law.

          Counts IV and V fail as a matter of law because: (1) Mr. Warner cannot

 establish the required elements for defamation or retaliation; and (2)

 Florida’s litigation privilege bars both claims.

          1.     Mr. Warner cannot show the elements of defamation
                 (Count IV).

          The Court should enter judgment as a matter of law against Count IV

 because Mr. Warner cannot demonstrate any of the five required elements for

 a claim for defamation: (1) publication of a statement, (2) falsity of the

 statement, (3) knowledge or reckless disregard by the defendant, (4) actual

 damages, and (5) the statement must be defamatory. Jews for Jesus, Inc. v.

 Rapp, 997 So. 2d 1098, 1106 (Fla. 2008).

          “Publication” requires the defendant “publish[] or communicate[] [the

 statement] to a third person; statements made to the person alleging the


                                        19
 67702620;3
Case 8:22-cv-01977-MSS-SPF Document 20 Filed 12/14/22 Page 20 of 25 PageID 185




 defamation do not qualify.” Am. Airlines, Inc. v. Geddes, 960 So. 2d 830, 833

 (Fla. 3d DCA 2007).

          Here, Mr. Warner sent correspondence to the Clerk and the Clerk’s

 attorneys sent a response letter only to Mr. Warner. Doc. 1-2. The only

 person who published the response was Mr. Warner himself when he chose to

 file it in this Court’s public docket, but that act by him cannot and is not

 attributable to the Clerk. E.g., Valencia v. Citibank Int’l, 728 So. 2d 330, 330–

 31 (Fla. 3d DCA 1999) (holding plaintiff’s decision to publish a statement

 cannot be attributable to the defendant). Accordingly, this Court should enter

 judgment dismissing Count IV as a matter of law.10

          2.    Florida’s litigation privilege bars Mr. Warner’s defamation
                claim (count IV).

          Florida’s broad litigation privilege bars Mr. Warner’s defamation claim,

 even if all required elements were established (they are not). See Doc. 11,

 at 15 (raising the defense). Under the litigation privilege, “absolute immunity

 must be afforded to any act occurring during the course of a judicial

 proceeding, regardless of whether the act involves a defamatory statement or

 other tortious behavior . . . so long as the act has some relation to the

 proceeding.” Levin, Middlebrooks, Mabie, Thomas, Mayes & Mitchell, P.A. v.



     10 Because the publication element is dispositive, the Clerk does not address the other
 elements in this motion. The Clerk preserves its defenses that Mr. Warner cannot establish
 any statement was false, was defamatory, or caused action damage to Mr. Warner.

                                             20
 67702620;3
Case 8:22-cv-01977-MSS-SPF Document 20 Filed 12/14/22 Page 21 of 25 PageID 186




 U.S. Fire Ins. Co., 639 So. 2d 606, 608 (Fla. 1994). Florida courts have

 expressly held that litigation privilege applies to “communicative acts” such

 as correspondences sent during litigation. E.g., Arko Plumbing Corp. v. Rudd,

 230 So. 3d 520, 525–26 (Fla. 3d DCA 2017); see also Echevarria, McCalla,

 Raymer, Barrett & Frappier v. Cole, 950 So. 2d 380, 381, 384 (Fla. 2007)

 (applying the privilege to letters sent by a defendant that allegedly

 misrepresented the amount of money that the plaintiffs owed as debts).

          The Clerk’s correspondence fits within that scope—it was a direct

 response to Mr. Warner’s own pre-suit communication accusing the Clerk of

 engaging in purportedly criminal behavior. For the same reason that the

 litigation privilege would protect Mr. Warner’s letter, however inflammatory,

 it likewise enables the Clerk to respond by pointing out the flaws in Mr.

 Warner’s position. Recognizing this point fits with the purpose of the rule by

 enabling parties to engage in normal litigation procedures without fearing

 that their ordinary communications will result in lawsuits. See Levin, 639 So.

 2d at 608. Accordingly, this Court should enter judgment as a matter of law

 against Mr. Warner’s defamation claim premised upon the Clerk’s response

 to Mr. Warner’s demand letter.




                                      21
 67702620;3
Case 8:22-cv-01977-MSS-SPF Document 20 Filed 12/14/22 Page 22 of 25 PageID 187




          3.   Mr. Warner Cannot Establish a Retaliatory Act (Count V).

          The Court should enter judgment as a matter of law against Count V

 because Mr. Warner cannot demonstrate that the Clerk engaged in any

 behavior sufficient to support a First Amendment retaliation claim.

          To prevail on a First Amendment retaliation claim, Mr. Warner must

 show three elements: (1) he engaged in constitutionally protected speech,

 (2) he suffered an adverse action, and (3) a causal relationship exists between

 the protected speech and the adverse action. Smith v. Mosley, 532 F.3d 1270,

 1276 (11th Cir. 2008) (citing Bennett v. Hendrix, 423 F.3d 1247, 1250, 1254

 (11th Cir. 2005)). Mr. Warner predicates his retaliation claim on allegations

 the Clerk told him his “demand letter was criminal extortion and cited the

 statute.” Doc. 1 ¶ 64. From the pleadings, as a matter of law, Mr. Warner

 cannot meet the second and third elements.

          First, merely threatening counterclaims (which the Clerk did not even

 do here) is not sufficient to constitute adverse action for purposes of

 retaliation. See Smith v. Haynes, 940 F.3d 635, 648 (11th Cir. 2019) (holding

 the defendant’s discussion of possible counterclaims did not meet “the

 governing test for what constitutes adverse action”). Similarly, the Supreme

 Court “has condoned limiting retaliation liability when the challenged

 government action, whether conduct or speech, is so pervasive, mundane, and

 universal in government operations that allowing a plaintiff to proceed on his

                                        22
 67702620;3
Case 8:22-cv-01977-MSS-SPF Document 20 Filed 12/14/22 Page 23 of 25 PageID 188




 retaliation claim would ‘plant the seed of a constitutional case’ in ‘virtually

 every’ interchange.” The Baltimore Sun Co. v. Ehrlich, 437 F.3d 410, 416 (4th

 Cir. 2006) (quoting Connick v. Myers, 461 U.S. 138, 148–49 (1983)). Likewise,

 the Seventh Circuit has explained that “it will be the rare case in which

 conduct occurring within the scope of litigation constitutes retaliation . . . .”

 Steffes v. Stepan Co., 144 F.3d 1070, 1075 (7th Cir. 1998).

          Here, this litigation began when Mr. Warner sent an e-mail to the

 Clerk (through its counsel) accusing it of the criminal acts of “embezzling”

 funds from him and committing “theft.” Doc. 1 ¶ 53; Doc. 11 ex. 1.

 Mr. Warner’s initial e-mail demanded triple damages under the civil theft

 statute, Florida Statute § 772.11. Doc. 11 ex. 1. But the civil theft statute has

 a strong fee-shifting provision in favor of a successful defendant. Under it, a

 successful defendant “is entitled” to recover attorney fees (not simply “may”)

 if the court finds the “claim was without substantial fact or legal support.”

 Fla. Stat. § 772.11(1).

          Again, Mr. Warner began this litigation by serving a demand letter

 accusing the Clerk of criminal conduct. Doc. 1 ¶ 53; Doc. 11 ex. 1. The Clerk’s

 response letter was measured, outlining the legal deficiencies with Mr.

 Warner’s claims. See generally Doc. 11 ex. 1; Doc. 1-2. The language with

 which Mr. Warner disagrees did not say he was going to face any extortion

 claims or charges. Rather, it was a gentle reminder that threatening to

                                        23
 67702620;3
Case 8:22-cv-01977-MSS-SPF Document 20 Filed 12/14/22 Page 24 of 25 PageID 189




 accuse a person of criminal acts to obtain money is generally unacceptable

 behavior. Id. at 1. The response letter did not state the Clerk was considering

 any action because of the demand itself, but rather that if Mr. Warner

 proceeded with his “proposed lawsuit,” it could “subject [him] to potential

 liabilities” in the form of a fee-shifting order, as contemplated by § 772.11(1).

          Thus, Mr. Warner’s retaliation claim fails as a matter of law because no

 adverse action occurred. Doc. 1-2. The Clerk’s attorneys merely provided a

 mundane reminder that phrasing matters and notice of the potential for the

 Clerk to receive an award of its attorney’s fees and costs. Id. The response did

 not even rise to the level of a threatened counterclaim, which, even then,

 would not be actionable. See, e.g., Tzoc v. M.A.X. Trailer Sales & Rental, Inc.,

 No. 13-cv-23859, 2015 WL 2374594, at *14 (S.D. Fla. May 18, 2015) (finding a

 purported threat to countersue a “plaintiff for $300,000 was not [an] adverse

 action”). Moreover, Mr. Warner cannot demonstrate the response was tied to

 his exercise of speech. Rather, the language was clear that the Clerk might

 only seek a fee-shifting award under § 772.11(1) if he proceeded with his

 “proposed lawsuit” under the civil theft statute. Id.

          Accordingly, the Court should enter judgment as a matter of law

 against Count V because the letter response to Mr. Warner’s demand letter

 cannot constitute an adverse action.




                                         24
 67702620;3
Case 8:22-cv-01977-MSS-SPF Document 20 Filed 12/14/22 Page 25 of 25 PageID 190




 IV.      CONCLUSION

          Mr. Warner’s claims are unsupported and contrary to existing case law.

 This motion presents an opportunity to eliminate these unsupported claims

 before they can cause needless additional expenses for Hillsborough County,

 and the Clerk requests an order granting it judgment in this matter.

                                       Respectfully submitted,

                                       /s/ Jason L. Margolin
                                       Jason L. Margolin, Esq.
                                       Florida Bar No. 69881
                                       jason.margolin@akerman.com
                                       judy.mcarthur@akerman.com
                                       Gregg M. Moran, Esq.
                                       Florida Bar No. 1011060
                                       gregg.moran@akerman.com
                                       ava.hill@akerman.com
                                       AKERMAN LLP
                                       401 E. Jackson Street, Suite 1700
                                       Tampa, Florida 33602
                                       (813) 223-7333 / Fax: (813) 223-2837
                                       Counsel for Defendant

                          CERTIFICATE OF SERVICE

       I hereby certify that on this 14th day of December 2022, I filed the
 foregoing using the Court’s e-portal and served an additional copy on Blake
 Warner at blake@null3d.com.


                                             /s/ Jason L. Margolin
                                             Counsel for Defendant




                                        25
 67702620;3
